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          MINUTE ORDER OF THE UNITED STATES DISTRICT COURT

                        SOUTHERN DISTRICT OF CALIFORNIA



                                                                         16-cv-1872-CAB-
Case Name: Darren Chaker v. Leesa Fazal, et al.          Case Number:
                                                                         (BLM)

Hon. Cathy Ann Bencivengo         Ct. Deputy Lori Hernandez           Rptr Tape: n/a

     The Court has reconsidered its earlier decision to seal this case in its entirety and has
     concluded that the strong presumption in favor of accessing judicial records warrants
     its UNSEALING. The only documents that will remain under seal are the
     Complaint and Plaintiff’s requests for IFP status and appointment of counsel. [Doc.
     Nos. 1, 2, 10, 14.] Moving forward, if any party wishes to file a document under
     seal they shall file a motion requesting leave to do so.

Date: July 31, 2017                                                                 Initials: NOD
